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     ~o 245B (CASD) (Rev. 4/14)     Judgment in a Criminal Case with Probation
                Sheet 1
                                                                                                                                            FibEr;
                                              UNITED STATES DISTRICT COURT                                                          .'AUG -5 PH 2t 29
                                       SOUTIffiRN DISTRICT OF CALIFORNIA.tW!.I!J..U~ (lIS nller CPr:l1
                     UNITED STATES OF AMERICA            AMENDED JUDGMENT IN A ~eR'lm~1retr~Ut. lit/.
                                        v.                                            (For Offenses Committed On or AfterNo~mber 1, 1987)                ((tm'lITv

                               CECIL GARR (I)                                         Case Number: 14CR2863-W

                                                                                      David R Silldorf
                                                                                      Defendant's Attorney
    REGISTRATION NO. 48555298
    181 Restitution page 4 attached
    mE DEFENDANT:
     181
       pleaded guilty to count(s) ONE OF THE INDICTMENT

     D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Numberfs)
18 USC 371                             CONSPIRACY TO COMMIT THEFT OF GOVERNMENT PROPERTY




        The defendant is sentenced as provided in pages 2 through _ _..:.4_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s) ------------------------------------
 181 Count(s) remaining in the Indictment                                              is   181   areD dismissed on the motion of the United States.
 181 Assessment: $100.00


 181 Fine waived                                    181 Forfeiture pursuant to order filed _ _ _0::.:8::./0:,1:;.1:.,16::-_ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                  AUGUST I, 2016
                                                                                 Date of Imposition ofSenten~J\  ,
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                                                                                                              II ../
                                                                                                                              1

                                                                                 HON. THOMAtS'JiWHELAN
                                                                                 UNITED STATES bf'STRICT IUDGE

                                                                                                                                                  14CR2863-W
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AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case with Probation
           Sheet 3 -- Probation
                                                                                                             Judgment-Page _ _2_ of         _--"4L_ _
DEFENDANT: CECIL GARR (1)                                                                              II
CASE NUMBER: 14CR2863-W
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 8 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         --

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(0)(7) ond 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender :Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          Ifthis judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall notpurchase,possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AD 245B (CASD) (Rev. 12111 Judgment in a Criminal Case with Probation
                  Sheet 5 - SpeciaJ Conditions
                                                                                                           Judgment Page   ----L-.. of       4
        DEFENDANT: CECIL GARR (I)
        CASE NUMBER: 14CR2863-W




                                             SPECIAL CONDITIONS OF SUPERVISION
IX' Submit to a search OfYOUT person, property, place of residence, vehicle, and personal effects whenever requested to do so at a reasonable
ICI time and in a reasonable manner by a probation officer or a law enforcement officer, provided that request is based upon a reasonable
    suspicion of contraband or evidence of a violation of a condition of your probation.


D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
Jg/ Not engage in the employment or profession of involving any fiduciary responsibilities.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
[gJ Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be detennined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
Ig] Provide complete disclosure of personal and business financial records to the probation officer as requested.
[gJ Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
Jg/ Seek and maintain full time employment.
o   Resolve all outstanding warrants within                days.
D Complete               hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
Jg/ Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation officer.
    Allow for reciprocal release of infonnation between the probation officer and the treatment provider. May be required to contribute to the
    costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

Jg/ Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, or entity, including a trust, partnership or corporation until the fine or restitution is paid in full.

x - Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
    including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.




                                                                                                                                             14CR2863-W
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AD 2458      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment - Page _...;4:....._ of       4
DEFENDANT: CECIL GARR (1)
CASE NUMBER: 14CR2863-W

                                                            RESTITUTION

The defendant shall pay restitntion in the amount of _ _ _$2_0_0-,-,0_0_0_.0_0_ _ _ unto the United States of America.




          This sum shall be paid         __ immediately.
                                          " as follows:
           That the defendant shall pay restitution forthwith in the amount of $200,000, to be joint and several with co-defendant
           John Vescuso, with $5,000 to be paid at the time of sentencing, to the Clerk ofthe United States District Court for
           distribution in the amounts indicated to the following identified entities or persons:

           United States Marine Corps
           clo OF AS Cleveland
           Attn: J3DCBB/6102
           1240 E. 9th St.
           Cleveland, OH 44199

           During any period of incarceration, Defendant shall pay restitution through the Imnate Financial Responsibility Program
           at the rate of$25.00 per quarter. Upon release from custody, Defendant shall pay restitution at the rate of at least $250.00
           per month for the first six months, and at least $500.00 per month thereafter. These payment schedules do not foreclose
           the United States from exercising all legal actions, remedies, and process available to it to collect the restitution judgment
           immediately. Until restitution has been paid, Defendant shall comply with financial reporting requirements with the U.S.
           Attorney's Office, and notifY the Clerk of the Court and the United States Attorney's Office of any change in Defendant's
           mailing or residence address, no later than thirty (30) days after any change occurs.




      The Court has determined that the defendant         does       have the ability to pay interest. It is ordered that:

              The interest requirement is waived.

             The interest is modified as follows:




                                                                                                    14CR2863-W
